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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 DEONTE JAMES,                                    Case No. 1:21-cv-1958

                          Plaintiff,              Judge J. Philip Calabrese
         v.
                                                  Magistrate Judge Jonathan D. Greenberg
 CUYAHOGA COUNTY, et al.,
                          Defendants.

       CUYAHOGA COUNTY’S SUPPLEMENTAL ANSWERS TO FIRST SET OF REQUESTS FOR
                  ADMISSIONS TO DEFENDANT CUYAHOGA COUNTY


        Subject to and without waiving the objections set forth in the County’s original and

supplemental response to First Set of Request for Admissions to Defendant Cuyahoga County

(“County”) provides the following supplemental Answers to Plaintiff’s Request for Admissions:


                                         REQUESTS
1.      Admit that body-worn-camera video of the August 5, 2018 incident involving inmate

        Muhammed Abdulhagg (Inmate #0236463) documented in the incident report beginning

        on CC 3578 does not exist within Defendant Cuyahoga County’s possession, custody,

        and/or control.

        ANSWER: Based upon the search described in the Declarations attached to the

        County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

        admits that it is not in possession, custody and/or control over the above-referenced

        body-worn camera video.

2.      Admit that surveillance-camera video of the August 5, 2018 incident involving inmate

        Muhammed Abdulhagg (Inmate #0236463) documented in the incident report beginning




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        on CC 3578 does not exist within Defendant Cuyahoga County’s possession, custody,

        and/or control.

        ANSWER: Based upon the search described in the Declarations attached to the

        County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

        admits that it is not in possession, custody and/or control over the above-referenced

        surveillance camera video.


3.      Admit that body-worn-camera video of the August 4, 2018 incident involving inmate

        Terrell Bell (Inmate #0328416) documented in the incident report beginning on CC 3558

        does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

        ANSWER: Deny.

4.      Admit that surveillance-camera video of the August 4, 2018 incident involving inmate

        Terrell Bell (Inmate #0328416) documented in the incident report beginning on CC 3558

        does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

        ANSWER: Based upon the search described in the Declarations attached to the

        County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

        admits that it is not in possession, custody and/or control over the above-referenced

        surveillance camera video.

5.      Admit that body-worn-camera video of the August 6, 2018 incident involving inmate

        Deante Benjamin (Inmate #0206625) documented in the incident report beginning on CC

        3401 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

        control.

        ANSWER: Deny.




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6.      Admit that surveillance-camera video of the August 6, 2018 incident involving inmate

        Deante Benjamin (Inmate #0206625) documented in the incident report beginning on CC

        3401 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

        control.

        ANSWER: Based upon the search described in the Declarations attached to the

        County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

        admits that it is not in possession, custody and/or control over the above-referenced

        surveillance camera video.

7.      Admit that body-worn-camera video of the December 30, 2018 incident involving inmate

        Antoine Blackshear (Inmate #0186338) documented in the incident report beginning on

        CC 5566 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

        control.

        ANSWER: Deny.

8.      Admit that surveillance-camera video of the December 30, 2018 incident involving inmate

        Antoine Blackshear (Inmate #0186338) documented in the incident report beginning on

        CC 5566 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

        control.

        ANSWER: Based upon the search described in the Declarations attached to the

        County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

        admits that it is not in possession, custody and/or control over the above-referenced

        surveillance camera video.




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9.       Admit that body-worn-camera video of the August 7, 2018 incident involving inmate

         Anthony Bonner (Inmate #0212328) documented in the incident report beginning on CC

         3398 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

10.      Admit that surveillance-camera video of the August 7, 2018 incident involving inmate

         Anthony Bonner (Inmate #0212328) documented in the incident report beginning on CC

         3398 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/ or control over the above-referenced

         surveillance camera video.

11.      Admit that body-worn-camera video of the March 9, 2018 incident involving inmate Colin

         Brady (Inmate #0327112) documented in the incident report beginning on CC 4693 does

         not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Deny.

12.      Admit that surveillance-camera video of the March 9, 2018 incident involving inmate Colin

         Brady (Inmate #0327112) documented in the incident report beginning on CC 4693 does

         not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County


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         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

13.      Admit that body-worn-camera video of the July 24, 2018 incident involving inmate Jamar

         Brown (Inmate #0283968) documented in the incident report beginning on CC 3355 does

         not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Deny.

14.      Admit that surveillance-camera video of the July 24, 2018 incident involving inmate Jamar

         Brown (Inmate #0283968) documented in the incident report beginning on CC 3355 does

         not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

15.      Admit that body-worn-camera video of the August 6, 2018 incident involving inmate

         Shauntez Brown (Inmate #0331391) documented in the incident report beginning on CC

         3417 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

16.      Admit that surveillance-camera video of the August 6, 2018 incident involving inmate

         Shauntez Brown (Inmate #0331391) documented in the incident report beginning on CC

         3417 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.




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         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

17.      Admit that body-worn-camera video of the December 15, 2017 incident involving inmate

         Joshua Castleberry (Inmate #0326936) documented in the incident report beginning on CC

         3869 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

18.      Admit that surveillance-camera video of the December 15, 2017 incident involving inmate

         Joshua Castleberry (Inmate #0326936) documented in the incident report beginning on CC

         3869 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

19.      Admit that body-worn-camera video of the September 6, 2018 incident involving inmate

         Marvel Collins (Inmate #0326691) documented in the incident report beginning on CC

         3650 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.




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20.      Admit that surveillance-camera video of the September 6, 2018 incident involving inmate

         Marvel Collins (Inmate #0326691) documented in the incident report beginning on CC

         3650 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

21.      Admit that body-worn-camera video of the December 21, 2018 incident involving inmate

         Gabrielle Conway (Inmate #0290789) documented in the incident report beginning on CC

         5648 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

22.      Admit that surveillance-camera video of the December 21, 2018 incident involving inmate

         Gabrielle Conway (Inmate #0290789) documented in the incident report beginning on CC

         5648 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.


23.      Admit that body-worn-camera video of the October 5, 2018 incident involving inmate

         Joselito Dejesus (Inmate #0218586) documented in the incident report beginning on CC

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         4350 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.
24.      Admit that surveillance-camera video of the October 5, 2018 incident involving inmate

         Joselito Dejesus (Inmate #0218586) documented in the incident report beginning on CC

         4350 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

25.      Admit that body-worn-camera video of the June 6, 2019 incident involving inmate Kevin

         Eskeridge (Inmate #0147255) documented in the incident report beginning on CC 3756

         does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Deny.

26.      Admit that surveillance-camera video of the June 6, 2019 incident involving inmate Kevin

         Eskeridge (Inmate #0147255) documented in the incident report beginning on CC 3756

         does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Deny as possible match has been produced.

27.      Admit that body-worn-camera video of the March 13, 2018 incident involving inmate

         Feliks Goldshtein (Inmate #0299412) documented in the incident report beginning on CC

         4742 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

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28.      Admit that surveillance-camera video of the March 13, 2018 incident involving inmate

         Feliks Goldshtein (Inmate #0299412) documented in the incident report beginning on CC

         4742 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/ or control over the above-referenced

         surveillance camera video.

29.      Admit that body-worn-camera video of the October 26, 2017 incident involving inmate

         William Graves (Inmate #0278879) documented in the incident report beginning on CC

         5680 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Deny.

30.      Admit that surveillance-camera video of the October 26, 2017 incident involving inmate

         William Graves (Inmate #0278879) documented in the incident report beginning on CC

         5680 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.




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31.   Admit that body-worn-camera video of the June 28, 2019 incident involving inmate Aaron

      Gregory (Inmate #0297844) documented in the incident report beginning on CC 5179 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

32.   Admit that surveillance-camera video of the June 28, 2019 incident involving inmate Aaron

      Gregory (Inmate #0297844) documented in the incident report beginning on CC 5179 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

33.   Admit that body-worn-camera video of the July 12, 2019 incident involving inmate Marcus

      Griffin (Inmate #0336207) documented in the incident report beginning on CC 5194 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

34.   Admit that surveillance-camera video of the July 12, 2019 incident involving inmate

      Marcus Griffin (Inmate #0336207) documented in the incident report beginning on CC

      5194 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

35.   Admit that body-worn-camera video of the July 4, 2019 incident involving inmate Marcus

      Griffin (Inmate #0336207) documented in the incident report beginning on CC 5237 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.


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      ANSWER: Deny.

36.   Admit that surveillance-camera video of the July 4, 2019 incident involving inmate Marcus

      Griffin (Inmate #0336207) documented in the incident report beginning on CC 5237 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

37.   Admit that body-worn-camera video of the March 24, 2018 incident involving inmate

      Deonte Hamilton (Inmate #0292567) documented in the incident report beginning on CC

      4873 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

38.   Admit that surveillance-camera video of the March 24, 2018 incident involving inmate

      Deonte Hamilton (Inmate #0292567) documented in the incident report beginning on CC

      4873 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County




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      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

39.   Admit that body-worn-camera video of the February 3, 2018 incident involving inmate

      Joshua Hamm (Inmate #0308827) documented in the incident report beginning on CC 3221

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

40.   Admit that surveillance-camera video of the February 3, 2018 incident involving inmate

      Joshua Hamm (Inmate #0308827) documented in the incident report beginning on CC 3221

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

41.   Admit that body-worn-camera video of the August 30, 2018 incident involving inmate

      Terry Harris (Inmate #0212023) documented in the incident report beginning on CC 3583

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

42.   Admit that surveillance-camera video of the August 30, 2018 incident involving inmate

      Terry Harris (Inmate #0212023) documented in the incident report beginning on CC 3583

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.


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      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

43.   Admit that body-worn-camera video of the November 20, 2017 incident involving inmate

      James Johnson (Inmate #0262501) documented in the incident report beginning on CC

      4033 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

44.   Admit that surveillance-camera video of the November 20, 2017 incident involving inmate

      James Johnson (Inmate #0262501) documented in the incident report beginning on CC

      4033 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

45.   Admit that body-worn-camera video of the July 19, 2018 incident involving inmate Brian

      Massimiani (Inmate #0277578) documented in the incident report beginning on CC 3626

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.




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46.   Admit that surveillance-camera video of the July 19, 2018 incident involving inmate Brian

      Massimiani (Inmate #0277578) documented in the incident report beginning on CC 3626

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

47.   Admit that body-worn-camera video of the November 19, 2017 incident involving inmate

      Joseph McAlpine (Inmate #0261499) documented in the incident report beginning on CC

      4060 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

48.   Admit that surveillance-camera video of the November 19, 2017 incident involving inmate

      Joseph McAlpine (Inmate #0261499) documented in the incident report beginning on CC

      4060 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

49.   Admit that body-worn-camera video of the November 16, 2018 incident involving inmate

      Deandre McCann (Inmate #0333718) documented in the incident report beginning on CC




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      5948 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

50.   Admit that surveillance-camera video of the November 16, 2018 incident involving inmate

      Deandre McCann (Inmate #0333718) documented in the incident report beginning on CC

      5948 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

51.   Admit that body-worn-camera video of the April 28, 2018 incident involving inmate

      Kenneth McGinnis (Inmate #0303197) documented in the incident report beginning on CC

      6221 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

52.   Admit that surveillance-camera video of the April 28, 2018 incident involving inmate

      Kenneth McGinnis (Inmate #0303197) documented in the incident report beginning on CC

      6221 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County




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      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

53.   Admit that body-worn-camera video of the November 12, 2018 incident involving inmate

      Jasper Muldrow (Inmate #0333565) documented in the incident report beginning on CC

      5909 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

54.   Admit that surveillance-camera video of the November 12, 2018 incident involving inmate

      Jasper Muldrow (Inmate #0333565) documented in the incident report beginning on CC

      5909 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny as possible match was produced.

55.   Admit that body-worn-camera video of the April 4, 2018 incident involving inmate

      Michael Nugent (Inmate #0285850) documented in the incident report beginning on CC

      6108 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

56.   Admit that surveillance-camera video of the April 4, 2018 incident involving inmate

      Michael Nugent (Inmate #0285850) documented in the incident report beginning on CC




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      6108 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

57.   Admit that body-worn-camera video of the February 26, 2018 incident involving inmate

      Joshua O’Brien (Inmate #0328055) documented in the incident report beginning on CC

      3264 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

58.   Admit that surveillance-camera of the February 26, 2018 incident involving inmate Joshua

      O’Brien (Inmate #0328055) documented in the incident report beginning on CC 3264 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

59.   Admit that body-worn-camera video of the September 18, 2018 incident involving inmate

      Bodgan Padus (Inmate #0332325) documented in the incident report beginning on CC

      4424 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

60.   Admit that surveillance-camera video of the September 18, 2018 incident involving inmate

      Bodgan Padus (Inmate #0332325) documented in the incident report beginning on CC




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      4424 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

61.   Admit that body-worn-camera video of the September 19, 2018 incident involving inmate

      Willie Petty (Inmate #0248209) documented in the incident report beginning on CC 4410

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

62.   Admit that surveillance-camera video of the September 19, 2018 incident involving inmate

      Willie Petty (Inmate #0248209) documented in the incident report beginning on CC 4410

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny as possible matches have been produced.

63.   Admit that body-worn-camera video of the May 20, 2019 incident involving inmate Jan

      Plato (Inmate #0304729) documented in the incident report beginning on CC 3800 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.




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64.   Admit that surveillance-camera video of the May 20, 2019 incident involving inmate Jan

      Plato (Inmate #0304729) documented in the incident report beginning on CC 3800 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

65.   Admit that body-worn-camera video of the November 27, 2017 incident involving inmate

      Jamal Rahmon (Inmate #0326225) documented in the incident report beginning on CC

      3918 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

66.   Admit that surveillance-camera video of the November 27, 2017 incident involving inmate

      Jamal Rahmon (Inmate #0326225) documented in the incident report beginning on CC

      3918 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

67.   Admit that body-worn-camera video of the April 8, 2018 incident involving inmate Chaise

      Range (Inmate #0315719) documented in the incident report beginning on CC 6357 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.


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      ANSWER: Deny.

68.   Admit that surveillance-camera video of the April 8, 2018 incident involving inmate Chaise

      Range (Inmate #0315719) documented in the incident report beginning on CC 6357 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/ or control over the above-referenced

      surveillance camera video.

69.   Admit that body-worn-camera video of the October 1, 2018 incident involving inmate

      Mario Rice (Inmate #0301541) documented in the incident report beginning on CC 4525

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/ or control over the above-referenced

      body-worn camera video.

70.   Admit that surveillance-camera video of the October 1, 2018 incident involving inmate

      Mario Rice (Inmate #0301541) documented in the incident report beginning on CC 4525

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.




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71.   Admit that body-worn-camera video of the December 6, 2017 incident involving inmate

      Kwoquan Scott (Inmate #0266174) documented in the incident report beginning on CC

      4116 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Deny.

72.   Admit that surveillance-camera video of the December 6, 2017 incident involving inmate

      Kwoquan Scott (Inmate #0266174) documented in the incident report beginning on CC

      4116 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

73.   Admit that body-worn-camera video of the November 6, 2018 incident involving inmate

      Jimmy Short (Inmate #0207164) documented in the incident report beginning on CC 5925

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

74.   Admit that surveillance-camera video of the November 6, 2018 incident involving inmate

      Jimmy Short (Inmate #0207164) documented in the incident report beginning on CC 5925

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County




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      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

75.   Admit that body-worn-camera video of the November 29, 2017 incident involving inmate

      Nicole Smith (Inmate #0322223) documented in the incident report beginning on CC 4069

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

76.   Admit that surveillance-camera video of the November 29, 2017 incident involving inmate

      Nicole Smith (Inmate #0322223) documented in the incident report beginning on CC 4069

      does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

77.   Admit that body-worn-camera video of the March 9, 2018 incident involving inmate

      Adolphus Sutton (Inmate #0197620) documented in the incident report beginning on CC

      4729 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County




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         admits that it is not in possession, custody and/or control over the above-referenced

         body-worn camera video.

78.      Admit that surveillance-camera video of the March 9 2018 incident involving inmate

         Adolphus Sutton (Inmate #0197620) documented in the incident report beginning on CC

         4729 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

79.      Admit that body-worn-camera video of the August 5, 2018 incident involving inmate

         James Tell (Inmate #0267188) documented in the incident report beginning on CC 3566

         does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         body-worn camera video.

      80.Admit that surveillance-camera video of the August 5, 2018 incident involving inmate

         James Tell (Inmate #0267188) documented in the incident report beginning on CC 3566

         does not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County




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      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

81.   Admit that body-worn-camera video of the May 7, 2019 incident involving inmate David

      Turner (Inmate #0321186) documented in the incident report beginning on CC 5752 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Deny.

82.   Admit that surveillance-camera video of the May 7, 2019 incident involving inmate David

      Turner (Inmate #0321186) documented in the incident report beginning on CC 5752 does

      not exist within Defendant Cuyahoga County’s possession, custody, and/or control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

83.   Admit that body-worn-camera video of the December 18, 2017 incident involving inmate

      Kenneth Vaughn (Inmate #0259898) documented in the incident report beginning on CC

      3936 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

84.   Admit that surveillance-camera video of the December 18, 2017 incident involving inmate

      Kenneth Vaughn (Inmate #0259898) documented in the incident report beginning on CC


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      3936 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.

85.   Admit that body-worn-camera video of the October 8, 2018 incident involving inmate

      Matthew Vittardi (Inmate #0316727) documented in the incident report beginning on CC

      4344 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      body-worn camera video.

86.   Admit that surveillance-camera video of the October 8, 2018 incident involving inmate

      Matthew Vittardi (Inmate #0316727) documented in the incident report beginning on CC

      4344 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

      control.

      ANSWER: Based upon the search described in the Declarations attached to the

      County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

      admits that it is not in possession, custody and/or control over the above-referenced

      surveillance camera video.




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87.      Admit that body-worn-camera video of the July 14, 2018 incident involving inmate

         Jonathan Williams (Inmate #0238832) documented in the incident report beginning on CC

         3512 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         body-worn camera video.

      88.Admit that surveillance-camera video of the July 14, 2018 incident involving inmate

         Jonathan Williams (Inmate #0238832) documented in the incident report beginning on CC

         3512 does not exist within Defendant Cuyahoga County’s possession, custody, and/or

         control.

         ANSWER: Based upon the search described in the Declarations attached to the

         County’s Supplemental Interrogatory Answers, dated March 30, 2023, the County

         admits that it is not in possession, custody and/or control over the above-referenced

         surveillance camera video.

Dated: March 30, 2023                   Respectfully submitted,

                                        Michael C. O’Malley, Prosecuting Attorney of
                                        Cuyahoga County, Ohio

                                        By:    /s/Janeane R. Cappara
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2023, a copy of the foregoing was served via email to

all counsel of record: Ashlie Case Sletvold at asletvold@peifferwolf.com and Jessica Savoie at

jsavoie@peifferwolf.com.


                                                   /s/Janeane R. Cappara
                                                   Janeane R. Cappara (0072031)

                                                   One of the attorneys for Defendants




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